20-05027-rbk Doc#9-1 Filed 06/05/20 Entered 06/05/20 16:26:47 Exhibit 1 (Assignments
                                of Claims) Pg 1 of 4




                            Exhibit 1:
              Assignments of Claims
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                                of Claims) Pg 2 of 4
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                                           of Claims) Pg 3 of 4




                                                        Assignment of Claims

             On this day, December         Jtfr,
                                            2019, SCMED Oilfield Consulting, LLC, through its sole member
             and principal Frank Darnel Moore, hereby assigns, transfers, sells, and conveys unto Frank Daniel
             Moore any and all claims, causes of action, and affinnative defenses SCMED Oil.field Consulting,
             LCC may have or assert against TCRG East Texas Pipeline I, LLC, John Terrill, David Strolle,
             and/or Granstaff, Gaedk:e, & Edgmon, P.C. for and in consideration of the sum of TEN Dollars
             ($10.00), and other good and valuable consideration, the receipt and sufficiency of which are
             hereby acknowledged. This assignment is in addition to the assignment made on November 25,
             2019.



           ~
                   I                                                                1z.-20-zoIt
             E         Daniel Moore                                             Date
           Principalfor      SCMED Oilfield Consulting, LLC


             Accepted by Assignee:



                                                                                /Z ~:zo~ ;2..01'!
                                                                                Date


                                                          Acknowledgment


           ~TATE OF: Nl
(_o,.,"½    ~ OF:               B1.n-~

             I.   C1ns¼,½: 5cci\- Leon'n~a Notary Public in and for said County and State, certify
             that fr<>--:,\c,   Qc"°'..e.\ M, aor:<--                ,   personally known to me to be the same
             person who signed above, appeared before me today in said State and County, and acknowledged
             and delivered the instrument to be their free act and deed.

             Given under my hand this~ of               Qeu,""'b-v        , 2019.


             My Commission expires:          1\/a:~JJ:Oao
              [SEAL]
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                                of Claims) Pg 4 of 4



                                         Assi望nment of Claims


 On this day, March           2020, SCMED Oilfield Cousulting    LLC, through its sole member and

 Principal Frank Danie Moore, hereby assigns, tranSfers, Sells, and conveys unto Frank Daniel
  Moore any and all clai    S, CauSeS Of action, and a節imative defenses SCMED Oi脆eld Consulting,

  LLC may have or asse      t against KrisJenn Ranch, LLC‑Series Pipeline ROW or any other person
  Or en竜ty claiming an i劃   erest in the right‑Of‑Way COmmOnly known as the P‑2 1 or Express pipeline
  righトOf‑Way, for and i     consideration of the sum of TEN Dollars ($1O.00), and other good and
  valuable consideration     the receipt and su綿ciency of which are hereby acknowledged・ This

  assignment is in additi    to the assignments made on November 25, 2019 and December 20, 2019.



                                                                第・㌦ぶげそD乙e
        Daniel Moore                                                    D ate
  Principal for SCMED       i脆eld Consulting, LLC




  Accepted by Assigne

  Frank Daniel Moore i his individual capacfty


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  Ff乙k Daniel Mo。re                                                     Date
